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                  Exhibit A
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12292910062022              Fayette County Prothonotary                            Page     1
     PYSPRT                      Civil Case Detail Report                          10/06/2022
Case No........... 2022-01797    JOYCE'S JEWELRY INC (vs) PNC BANK NATIONAL ASSOCIATION
Reference No...... NO. 1797 OF 2022 GD                          Filed..........    9/16/2022
Case Type......... MISC-OTHER                                   Time...........        10:29
Judgment..........               $.00                           Execution Date.    0/00/0000
Judge Assigned.... VERNON NANCY D                               Jury Trial.....
Disposed Desc.....                                              Disposed Date..    0/00/0000
------------ Case Comments ------------                         Higher Crt 1...
                                                                Higher Crt 2...

******************************************************************************************
                                    ++ GENERAL INDEX ++
Indexed Party                                             Attorney Info
JOYCE'S JEWELRY INC                  PLAINTIFF            FRANKOVITCH CARL A
                                                            337 PENCO RD
                                                            WEIRTON, WV 26062
                                                          KAPLAN HOWARD
                                                            1953 N CLYBOURN AVE
                                                            STE 274
                                                            CHICAGO, IL 60614
PNC BANK NATIONAL ASSOCIATION          DEFENDANT            BURKE THOMAS F
                                                              BALLARD SPAHR LLP
                                                              1735 MARKET ST.,51ST FLOOR
                                                              PHILADELPHIA, PA 19103
                                                            D'AVERSA ANDREW N
                                                              BALLARD SPAHR LLP
                                                              1735 MARKET ST.,51ST FLOOR
                                                              PHILADELPHIA, PA 19103
******************************************************************************************
                                   ++ DOCKET ENTRIES ++
  Date       Entry Text
             - - - - - - - - - - - - - FIRST ENTRY - - - - - - - - - - - - - -
 9/16/2022   COMPLAINT FILED AT 10:29 A.M
             NO INSTRUCTIONS.
                                       30 Image page(s) exists for this entry
             -------------------------------------------------------------------
10/05/2022   UNCONTESTED MOTION FOR PRO HAC VICE ADMISSION FILED AT 3:52 P.M
                                       41 Image page(s) exists for this entry
             -------------------------------------------------------------------
10/05/2022   ORDER FILED AT 3:51 P.M .
             ORDERED THAT THE UNCONTESTED MOITON FOR ADMISSION PRO HAC VICE
             FOR HOWARD KAPLAN ESQUIRE IS GRANTED. FOR FULL PARTICULARS SEE
             ORDER FILED.
             ATTEST:NINA CAPUZZI FRANKHOUSER,PROTHONOTARY BY THE COURT:VERNON
             SAME DAY COPIES ISSUED.
                                        2 Image page(s) exists for this entry
             -------------------------------------------------------------------
10/05/2022   NOTICE OF RULE 236 NOTICE PROVIDED/MAILED TO PARTIES OF RECORD
             -------------------------------------------------------------------
10/06/2022   ENTRY OF APPEARANCE OF THOMAS BURKE AND ANDREW D'AVERSA ON BEHALF
             OF PNC BANK, FILED AT 9:50 AM
                                        2 Image page(s) exists for this entry
             -------------------------------------------------------------------
10/06/2022   ACCEPTANCE OF SERVICE FILED AT 9:50 AM
                                        3 Image page(s) exists for this entry
             -------------------------------------------------------------------
10/06/2022   UNCONTESTED MOTION FOR PRO HAC VICE ADMISSION, FILED AT 10:00 AM
                                       11 Image page(s) exists for this entry
             - - - - - - - - - - - - - - LAST ENTRY - - - - - - - - - - - - - -
******************************************************************************************
                                  ++ Escrow Information ++
Cost / Fee                        Beg. Balance      Pymts/Adjmts      End. Balance
TAX ON CMPLT                             $.50              $.50              $.00
JCP FEE                                $40.25            $40.25              $.00
DISC                                    $6.25             $6.25              $.00
AUTO FEE 2                              $5.00             $5.00              $.00
COMPLAINT FILED                        $65.50            $65.50              $.00
                                  ------------      ------------      ------------
                                      $117.50           $117.50              $.00
******************************************************************************************
                                  End of Case Information
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